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                         UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF OHIO
                                EASTERN DIVISION



UNITED STATES OF AMERICA,                )       CASE NO. 1:16cr52
                                         )
                                         )
                     Plaintiff,          )       JUDGE CHRISTOPHER A. BOYKO
                                         )
              Vs.                        )
                                         )
OMAR H. MOHAMMAD,                        )      ORDER ADOPTING
                                         )      REPORT AND RECOMMENDATION
                                         )      OF MAGISTRATE JUDGE
                                         )
                    Defendant.           )


      The above Defendant, accompanied by counsel, proffered a plea of guilty

before Magistrate Judge Parker to the charge in the Indictment. The Court finds that the

Defendant’s proffer of guilt was made under oath knowingly, intelligently and voluntarily

and that all requirements imposed by the United States Constitution and Fed.R.Crim.P.

11 are satisfied. THEREFORE, the Court adopts the Report and Recommendation of

Magistrate Judge Parker, approves the written guilty plea , accepts the Defendant’s offer

of guilt and finds the Defendant guilty as charged in the Indictment.

      The signed Written Guilty Plea shall be filed as of the date of this Order.



      IT IS SO ORDERED.

                                                s/Christopher A. Boyko
Date 10/25/2016                                 CHRISTOPHER A. BOYKO
                                                United States District Judge
